 Case 2:09-cr-20133-JWL        Document 1656      Filed 07/02/14    Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )
      v.                               )               Case No. 09-20133-07-JWL
                                       )
DWIGHT RHONE,                          )
                                       )
                      Defendant.       )
_______________________________________)


                         MEMORANDUM AND ORDER

      This matter comes before the Court upon the motion by defendant Dwight Rhone

(Doc. # 1641) seeking the discovery of certain documents from the Government. For the

reasons set forth below, the motion is denied.

      Defendant seeks an order compelling the Government and his own trial attorney

to produce certain documents relating to the search of an Arizona residence and a

document concerning a particular witness’s “time reduction that he received after

testifying.” Defendant’s attorney has filed a response in which he states that he is

prohibited by agreement from disseminating to defendant any such documents produced

in discovery in this case by the Government. Defendant did not file a reply brief in

support of his motion.

      Because defendant has not provided any legal basis for his request for discovery,

the Court denies this motion. Defendant relies on Rule 16(a)(1)(E)(i), which provides
 Case 2:09-cr-20133-JWL         Document 1656        Filed 07/02/14     Page 2 of 3




that, upon a defendant’s request, the Government must produce an item if it “is material

to preparing the defense.” See Fed. R. Crim. P. 16(a)(1)(E)(i). The requested items

cannot be material to the preparation of defendant’s defense, however, because

defendant has already been convicted at trial and sentenced (and his direct appeal has

been exhausted). Thus, the cited rule does not apply here. See United States v. Neal,

611 U.S. 399, 401 (7th Cir. 2010) (Rule 16 did not authorize discovery after conviction);

United States v. Mikaelian, 168 F.3d 380, 389 (9th Cir. 1999) (affirming denial of

discovery under Rule 16 on basis that items were not material to preparation of defense

after defendant had pleaded guilty); Hawkes v. IRS, 467 F.2d 787, 792 (6th Cir. 1972)

(discovery process to help a defendant prepare for trial is unavailable after conviction

and sentencing); Farnell v. Solicitor-General of United States, 429 F.2d 1318, 1318 (5th

Cir. 1970) (affirming ruling that a motion for discovery under Rule 16 was unavailable

after conviction); United States v. Kessler, 253 F.2d 290, 292 (2d Cir. 1958) (motion for

discovery after having been found guilty was too late).

       Defendant asserts in his motion that the documents are needed for the preparation

of his petition for post-conviction relief pursuant to 28 U.S.C. § 2255. Rule 6 of the

Rules Governing Section 2255 Proceedings does provide that a judge may authorize a

petitioner’s request for discovery, but defendant has not provided any authority that

would permit a court to authorize discovery prior to the filing of a Section 2255 petition.

Moreover, a request for discovery under Rule 6 must be supported by specific allegations

giving “reason to believe that the petitioner may, if the facts are fully developed, be able

                                             2
 Case 2:09-cr-20133-JWL         Document 1656       Filed 07/02/14     Page 3 of 3




to demonstrate that he is entitled to relief.” See Bracy v. Gramley, 520 U.S. 899, 908-09

(1997) (quoting Harris v. Nelson, 394 U.S. 286, 300 (1969)); see also Curtis v. Chester,

626 F.3d 540, 549 (10th Cir. 2010) (Bracy standard applies to Section 2255 petitioner’s

request for discovery). Defendant has not explained how the requested documents

would support any specific claim for relief under Section 2255; accordingly, even if

defendant had already filed a Section 2255 petition, he would still not be entitled to the

requested discovery under Rule 6. Because defendant has not provided any other legal

basis for discovery from the Government at this time, the Court denies his motion.



       IT IS THEREFORE ORDERED BY THE COURT THAT defendant Dwight

Rhone’s motion for discovery (Doc. # 1641) is denied.


       IT IS SO ORDERED.


       Dated this 2nd day of July, 2014, in Kansas City, Kansas.


                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge




                                            3
